Case 5:17-cv-00237-XR Document 1-1 Filed 03/23/17 Page 1 of 10




               Exhibit A
                    Case 5:17-cv-00237-XR Document 1-1 Filed 03/23/17 Page 2 of 10




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 16339189
Notice of Service of Process                                                                            Date Processed: 03/08/2017

Primary Contact:           Service Process Team 3-11-309
                           Nationwide Mutual Insurance Company
                           Three Nationwide Plaza
                           Columbus, OH 43215

Electronic copy provided to:                   Kevin Jones
                                               Cassandra Struble

Entity:                                       Allied Property And Casualty Insurance Company
                                              Entity ID Number 0129900
Entity Served:                                Allied Property & Casualty Insurance Company
Title of Action:                              Michael H. Litofsky vs. Allied Property & Casualty Insurance Company
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Bexar County District Court, Texas
Case/Reference No:                            2017CI03724
Jurisdiction Served:                          Texas
Date Served on CSC:                           03/07/2017
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Gravely & Pearson, L.L.P.
                                              N/A

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                               To avoid potential delay, please do not send your response to CSC
                        2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 | sop@cscglobal.com
                     Case 5:17-cv-00237-XR Document 1-1 Filed 03/23/17 Page 3 of 10

CERTIFIED MAIL #70151660000034463479                      Case Number: 2017-CI-03724
MICHAEL H LITOFSKY                                                                                   2017CI03724      500001

Plaintiff                                                                                             IN THE DISTRICT COURT
VS.                                                                                                   224th JUDICIAL DISTRICT
ALLIED PROPERTY &CASUALTV INSURANCE CO                                                                BEXAR COUNTY, TEXAS
Defendant                                                            CITAT ION
(Note: Attached document may contain additional litigants).

"THE STATE OF TEXAS"
DIRECTED TO: ALLIED PROPERTY &CASUALTY INSURANCE COMPANY ANA


                        BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPPANY
                        211 E 7TH ST 620
                        AUSTIN TX 78701
"You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk
 who issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days after you were
served this citation and petition, a default judgment may be taken against you." Said petition was filed on the 1st
day of March, 2017.
ISSUED UNDER MY HAND AND SEAL OF SAID COURT ON THIS 2ND DAY OF MARCH A.D., 2017.

PETITION




MATTHEW R PEARSON                                                                  Donna Kay M£Kinney
ATTORNEY FOR PLAINTIFF
425 SOLEDAD ST 600                                                                 Bexar County District Clerk
SAN ANTONIO, TX 78205-1553                                                         101 W. Nueva, Suite 217
                                                                                   San Antonio, Texas 78205
                                                                                   By: (])e6ra   Cantu,      Deputy


                                                              Officer's Return

Came to hand on the 2nd day of March 2017, A.D., at 12:01 o'clock P.M.                                                 and EXECUTED
(NOT EXECUTED) by, CERTIFIED MAIL, on the _ _ day of                  ,                                               A.D., 20_,
by delivering to                                               a true                                                 copy of this
Citation, upon which I endorse the date of delivery, together with the                                                 accompanying
copy of the PETITION

Cause of failure to execute this Citation is _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                                                    Donna Kay M~Kinney
                                                                                    Clerk of the District Courts of
                                                                                    Bexar County, Texas
                                                                                 By :(])e6ra   Cantu,    Deputy

                                                                                                               ORIGINAL (DK003)
                        Case 5:17-cv-00237-XR Document 1-1 Filed 03/23/17 Page 4 of 10
FILED
3/112,017 1:42:12 PM
Donna Kay flll..cKinney
Bexar County District Clerk
Accepted By: Edgar Garcia                                                                  citcml-sac2 w/jd
                                              2017CI03724
                                             CAUSE NO. _ _ _ _ _ _ _ __

               MICHAEL H. LITOFSKY            §                                      IN THE DISTRICT COURT
                                              §
                    Plaintiff,                §
                                              §                              224th
               v.                             §                                            JUDICIAL DISTRICT
                                              §
               ALLIED PROPERTY & CASUALTY     §
               INSURANCE COMPANY, A NATIONWIDE§
               INSURANCE COMPANY              §
                                              §
                    Defendant.                §                                      BEXAR COUNTY, TEXAS

                                            PLAINTIFF'S ORIGINAL PETITION

               TO THE HONORABLE JUDGE OF SAID COURT:

                        NOW COMES Plaintiff, MICHAEL H. LITOFSKY and files this Original Petition against

               Defendant, ALLIED PROPERTY & CASUALTY INSURANCE COMPANY, A NATIONWIDE

               INSURANCE COMPANY for cause of action would respectfully show the Court the following:

                                                      I. DISCOVERY LEVEL

                        Pursuant to Rule 190 of the Texas Rules of Civil Procedure, Plaintiff intends to conduct

               discovery under Level 3.

                                                            II. VENUE

                        Venue is appropriate in Bexar County, Texas because all or part of the conduct giving rise
                                                      "
               to the causes of action were committed in Bexar County, Texas and Plaintiff and property which

               is the subject of this suit are located in Bexar County, Texas.

                                                           III. PARTIES

                        Plaintiff resides in Bexar County, Texas.

                        Defendant, ALLIED PROPERTY & CASUALTY INSURANCE COMPANY, A

               NATIONWIDE INSURANCE COMPANY is in the business of insurance in the State of Texas.
        Case 5:17-cv-00237-XR Document 1-1 Filed 03/23/17 Page 5 of 10




The insurance business done by ALLIED PROPERTY & CASUALTY INSURANCE

COMPANY, A NATIONWIDE INSURANCE COMPANY in Texas includes, but is not limited

to, the following:

       •       The making and issuing of contracts of insurance with Plaintiff;

       •       The taking or receiving of application for insurance, including Plaintiffs
               application for insurance;

       •       The receiving or collection of premiums, commissions, membership fees,
               assessments, dues or other consideration for any insurance or any part thereof,
               including any such consideration or payments from Plaintiff; and

       •       The issuance or delivery of contracts of insurance to residents of this state or a
               person authorized to do business in this state, including Plaintiff.

       Defendant, ALLIED PROPERTY & CASUALTY INSURANCE COMPANY, A

NATIONWIDE INSURANCE COMPANY may be cited with process by Certified Mail, Return

Receipt Requested to the attorney for service, Corporation Service Company, 211 E. 7th Street,

Suite 620, Austin, Texas 78701. Corporation Service Company is requested to send the
                                                                                 _/

Petition/Citation to Allied Property & Casualty Insurance Company, a Nationwide Insurance

Company, 1100 Locust Street, Des Moines, lA 50391-1100.

                          IV. NATURE OF THE CASE; RELIEF SOUGHT

       This is a first-party insurance case stemming from extensive damage to Plaintiffs business

from a wind/hail event on or about April12, 2016. Plaintiff seeks damages for breach of contract

and violations of the Texas Insurance Code. Plaintiff also seeks his attorney's fees, statutory

penalties, costs of court and pre- and post-judgment interest. As required by Rule 47 of the Texas

Rules of Civil Procedure, Plaintiff seeks monetary relief in excess of $100,000.00, including

damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees.




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        Case 5:17-cv-00237-XR Document 1-1 Filed 03/23/17 Page 6 of 10
                                            '   '




                                            V. BACKGROUND FACTS

        Plaintiff owns a business located at5435 Walzem Road, San Antonio, Texas 78218. This

business is covered by a policy of insurance, numbered 7842PE 131348 0412201651 issued by

Defendant to Plaintiff ("the Policy"). The Policy covered Plaintiffs business against loss by wind,

water damage, among other perils.

        As a consequence of the wind and hail, Plaintiffs business sustained extensive damage on

or about April 12, 2016.

        Plaintiff gave timely notice to the carrier.

        The carrier assigned the claim to adjusters to investigate, report on and adjust the loss.

        Plaintiff provided information to the adjusters and opportunities for the adjusters to inspect

the Residence.

        The Defendant has failed and refused to pay Plaintiff in accordance with its promises under ·

the Policy. In addition, the Defendant violated the Prompt Payment of Claims Act, Texas Ins. Code    I




§ 542.055 et. seq.

        VI. CLAIMS AGAINST ALLIED PROPERTY & CASUALTY INSURANCE COMPANY,
                                A NATIONWIDE INSURANCE COMPANY

      Declaratory Judgment. Plaintiffre-alleges the foregoing paragraphs. Pursuant to the Texas

Declaratory Judgment Act, Plaintiff is entitled to a declaration that the Policy provide coverage

for the cost to repair the   d~maged   property and personal property, less only a deductible, among

other things. In the alternative, Plaintiff asserts that the Policy is ambiguous and must be

interpreted in favor of coverage and against the Defendant.

        Breach of Contract. Plaintiff re-alleges the foregoing paragraphs. The acts and omissions

of the Defendant and its agents constitute a breach and/or anticipatory breach of the Defendant's



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        Case 5:17-cv-00237-XR Document 1-1 Filed 03/23/17 Page 7 of 10




contract with Plaintiff. Plaintiff has satisfied all conditions precedent to the fulfillment of its

contractual demands. Accordingly, additionally or in the alternative, Plaintiff brings an action for

breach of contract against the Defendant pursuant to Texas statutory and common law, including

Chapter 38 of the Texas Civil Practice and Remedies Code, and seek all of its damages for such

breach, including actual damages, consequential damages, attorneys' fees, prejudgment interest,

other litigation expenses and costs of court.

       Violations of the Texas Insurance Code. Plaintiffre-alleges the foregoing paragraphs. At

all pertinent times, the Defendant was engaged in the business of insurance as defined by the Texas

Insurance Code. The acts and omissions of the Defendant and its agents constitute one or more

violations of the Texas Insurance Code. More specifically, the Defendant has, among other

violations, violated the following provisions of the Code:

           1. Insurance Code chapter 542, the Prompt Payment Act.

           2. Insurance Code chapter 541, section 541.060 by, among other things:

           •   failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement
               of a claims with respect to which their liability has become reasonably clear;

           •   refusing to pay Plaintiffs claims without conducting a reasonable investigation.

       Where statements were made by the Defendant, Plaintiff reasonably relied upon them. As

a result of the foregoing conduct, which was and is the producing cause(s) of injury and damage

to Plaintiff, Plaintiffhas suffered damages including, without limitation, actual damages, economic

damages, and consequential damages. Moreover, one or more of the foregoing acts or omissions

were "knowingly" made, entitling Plaintiff to seek treble damages pursuant to the Insurance Code.

The Defendant has also violated the Prompt Payment Act, and Plaintiff seeks 18% damages as a

penalty, plus reasonable and necessary attorney's fees incurred as a result ofthese violations.




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        Case 5:17-cv-00237-XR Document 1-1 Filed 03/23/17 Page 8 of 10




                                  VII.   CONDITIONS PRECEDENT

       All conditions precedent for Plaintiff to recover under the Policy has been or will be met.

                                         VIII. JURY DEMAND

       Plaintiff requests that a jury be convened to try the factual issues in this action.

                               IX. REQUEST FOR DISCLOSURE

       Pursuant to the Texas Rules of Civil Procedure 194, Plaintiff requests that Defendant

provide the information required in a Request for Disclosure. ·

                                            X. PRAYER
       WHEREFORE, Plaintiff seeks the following relief:

       A.      The Court's declaration that the Policy provides coverage for the damage to the

Residence, less only a deductible;

       B.      Alternatively, a ruling that the Policy is ambiguous and must be interpreted in favor
                                                                                                 i
of coverage and in favor of Plaintiff;

       C.      Damages against the Defendant for breach of contract, including actual damages,

consequential damages, attorneys' fees, pre- and post-judgment interest, other litigation expenses

and costs of court;

       D.      Damages against the Defendant for violations of the Texas Insurance Code,

including without limitation economic damages, actual damages, consequential damages, treble

damages, and reasonable and necessary attorneys' fees;

       E.      Penalty in the amount of 18% damages for violations of the Prompt Payment Act;

       F.      Any other relief to which Plaintiff would be justly entitled to.




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Case 5:17-cv-00237-XR Document 1-1 Filed 03/23/17 Page 9 of 10




                            Respectfully submitted,

                            GRAVELY & PEARSON, L.L.P.
                            425 Soledad, Suite 600
                            San Antonio, Texas 78205
                            Telephone: (21 0) 4 72-1111
                            Facsimile: (210) 472-1110

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                               atthew R. Pear n
                            State Bar No. 00788173
                            mpearson@gplawtirm.com
                            Jonathan C. Lisenby
                            State Bar No. 24072889
                            jlisenbv@gplawfirm.com

                          ATTORNEYS FOR PLAINTIFF




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           BEXAR COUNTY DISTRICT CLERK                                                                                                                                                                                                      ne~st:
              PAUL ELIZONDO TOWER                                                                                                                                                                                                           03!03!2017
            101 W. NUEVA ST., SUITE 217
           SAN ANTONIO, TX 78205-341 1
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                                                                                                                                  ALLIED PROPERTY &CASUALTY INSURANCE COMPF
                                                                                                                                  C/0 CORPORATION SERVICE COMPPANY
                                                                                                                                  211 E 7TH ST 620
                                                                                                                             I    AUSTIN. TX 78701
                                                                                                                                  2017CJ03724 3/2/2017 CJTCM DEBRA CANTU




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